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1                 IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
2                            EASTERN DIVISION

3      IRIS ROSALES,                                      )   No. 18 C 997
                                                          )
4                               Plaintiff,                )
                                                          )
5                   v.                                    )
                                                          )
6      PORTFOLIO RECOVERY ASSOCIATES, L.L.C.,             )   September 13, 2018
                                                          )   Chicago, Illinois
7                                                         )   8:50 a.m
                                Defendant.                )   Motion Hearing
8
9                     TRANSCRIPT OF PROCEEDINGS
             BEFORE THE HONORABLE SHARON JOHNSON COLEMAN
10
11     APPEARANCES:

12     For the Plaintiff:            SULAIMAN LAW GROUP, LTD.
                                     2500 S. Highland Avenue
13                                   Suite 200
                                     Lombard, Illinois 60148
14                                   BY: MR. JAMES C. VLAHAKIS

15
       For the Defendant:            McGUIRE WOODS LLP
16                                   77 West Wacker Drive
                                     Suite 4100
17                                   Chicago, Illinois 60601
                                     BY: MS. SARAH ANN ZIELINSKI
18                                        MS. AMY L. STARINIERI GILBERT

19
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21
22
23                 TRACEY DANA McCULLOUGH, CSR, RPR
                         Official Court Reporter
24                     219 South Dearborn Street
                                Room 1426
25                      Chicago, Illinois 60604
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1                   THE CLERK: 18 CV 997, Rosales versus Portfolio
2      Recovery Associates.
3                   THE COURT: Ladies, before you come all the way up,
4      the other side called and said they're running late.
5                   MS. ZIELINSKI: Okay.
6                   THE COURT: All right. Thank you.
7                   MS. ZIELINSKI: Thank you.
8           (Whereupon, other matters were heard in open court.)

9                   THE CLERK: Recalling 18 CV 997, Rosales versus
10     Portfolio Recovery Associates.
11                  MR. VLAHAKIS: Thank you, Your Honor. James Vlahakis
12     on behalf of plaintiff. I apologize for the delay.
13                  THE COURT: No problem. Were you on the Eisenhower
14     by any chance?
15                  MR. VLAHAKIS: The Stevenson was horrible.
16                  THE COURT: The Stevenson. They're both bad. All
17     right.
18                  MS. ZIELINSKI: Sarah Zielinski and Amy Gilbert for
19     Portfolio Recovery Associates.
20                  THE COURT: All right. So where are we today? We
21     have a motion for -- to compile?
22                  MS. ZIELINSKI: Right. We're here today on PRA's
23     motion to compel arbitration. We've talked previously with
24     plaintiff's counsel about that. We understand that they oppose
25     that motion. So with respect to that, I think all we need is a
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1      briefing schedule.
2                   THE COURT: Well, before we do that, were you all not
3      referred to a magistrate judge?
4                   MR. VLAHAKIS: We were. We've been before her
5      several times, and we actually have a motion to compel up
6      tomorrow in front of her relative to some discovery.
7                   MS. ZIELINSKI: Relative to discovery, right. But
8      this is a motion to compel arbitration.
9                   THE COURT: Oh, this is the arbitration?
10                  MS. ZIELINSKI: Yes. And so --
11                  THE COURT: I had the -- okay.
12                  MS. ZIELINSKI: Right. And so that actually relates
13     to another motion that was noticed up for today, and that is
14     that plaintiff has also filed a motion to -- a motion for class
15     certification. But the motion to compel arbitration relates
16     to -- you know, one of the issues that will be resolved is
17     whether this will proceed as an individual arbitration or as a
18     class action, because there's a class action waiver. And so
19     just as a matter of -- a practical matter, we're going to need
20     to resolve the motion to compel arbitration before we can even
21     touch upon the motion for class certification.
22                  THE COURT: How long do you need?
23                  MR. VLAHAKIS: Three weeks.
24                  THE COURT: Okay.
25                  MR. VLAHAKIS: Part of what I wanted to chime in,
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1      though, if I may, is that the answer was filed in this case in,
2      in March. We have proceeded through discovery. We are
3      awaiting the production of information relative to the size of
4      the class. I think there's a compelling argument that there's
5      been a waiver made for this based on this amount of time.
6      There wasn't a motion to stay put on this case. Discovery has
7      been answered. We've been promised a discovery relative to
8      class numbers.
9                   THE COURT: Why don't you include that in your
10     response, and I'll take care --
11                  MR. VLAHAKIS: Fair enough.
12                  THE COURT: -- of all of that. But that is -- that's
13     something to consider.
14                  MR. VLAHAKIS: Sure.
15                  THE COURT: It's not a bad argument. All right.
16                  MR. VLAHAKIS: Do you want to enter and continue then
17     the motion for class certification, or do you want to have that
18     briefed out as well?
19                  THE COURT: That should be entered and continued.
20                  MR. VLAHAKIS: Certainly.
21                  THE COURT: And so how long has that been pending?
22                  MR. VLAHAKIS: We just filed that. We had been
23     working on that waiting to get the numbers on numerosity.
24                  THE COURT: But when did you file it? You just filed
25     it?
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1                   MR. VLAHAKIS: On Friday.
2                   THE COURT: All right. So that motion for class cert
3      is entered and continued. The motion to compel arbitration you
4      said 21 days, Counsel?
5                   MR. VLAHAKIS: Yes, Your Honor.
6                   THE CLERK: That's October 4th.
7                   THE COURT: And 7, 14?
8                   MS. ZIELINSKI: 14 would be great.
9                   THE CLERK: October 18th.
10                  THE COURT: And do we have another status date
11     pending? Do we have to set one?
12                  THE CLERK: No, we don't have one set.
13                  THE COURT: Really? Okay. Well, we'll set one now
14     and strike it if we find out there is not a status pending.
15     All right. Let's set a status in -- let's do mid-November.
16                  MS. ZIELINSKI: And, Your Honor, if I could raise one
17     more thing. Plaintiff's motion to compel related to discovery
18     I think raises another issue, which is that if this case does
19     proceed in arbitration, discovery is going to look drastically
20     different because the -- you know, what the discovery looks
21     like will be determined by the arbitration provision and the
22     arbitrator. And plaintiff won't be entitled to class --
23                  THE COURT: Well, let's cross that bridge when we get
24     to it.
25                  MS. ZIELINSKI: Oh, okay. Well, I -- my -- I
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1      understood that --
2                   THE COURT: You can talk to the magistrate judge --
3                   MS. ZIELINSKI: Wonderful.
4                   THE COURT: -- if you have a date before them.
5                   MS. ZIELINSKI: Wonderful.
6                   THE COURT: I'm not going to issue any orders on
7      that.
8                   MS. ZIELINSKI: Thank you.
9                   THE COURT: All right.
10                  MR. VLAHAKIS: And just one other issue too just so
11     there's no surprises later. We may be amending the complaint.
12     We have been -- I think there's people that have received the
13     same letter. So somebody else may step in. Then there may be
14     an issue of arbitration. But as I understand it, there may be
15     different credit cards that are harder for somebody as a debt
16     buyer to prove up and examine that. But that may then
17     eliminate the need to deal with the motion to compel
18     arbitration if we think we have a plaintiff that survives it,
19     notwithstanding our waiver issue. So what I would probably
20     proceed on that is then to inform this Court through a motion
21     for leave to amend, which may then allow the Court --
22                  THE COURT: When do you think that might happen?
23                  MR. VLAHAKIS: Probably within the next 21 days, and
24     probably before --
25                  THE COURT: Okay. So why, why don't we do this: You
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1      come back in 21 days or so.
2                   MR. VLAHAKIS: Sure.
3                   THE COURT: And that will be your time for your
4      amended motion or to tell me and counsel what you're going to
5      do before I do a briefing schedule on arbitration. I don't
6      need to have all those different directions and what ifs when
7      we can fairly shortly know for sure if the arbitration motion
8      is the way we're proceeding, or if you need to take a look at
9      the response to the amended complaint and decide whether or not
10     that's still an issue.
11                  MR. VLAHAKIS: Okay.
12                  THE COURT: Okay. Let's do that. So forget what I
13     just said. The 21st -- October 4th the Court would expect a
14     decision on the amendment by plaintiff, an amended complaint.
15     What's the nearest status to that?
16                  THE CLERK: October 9th.
17                  THE COURT: October 9th. All right.
18                  MR. VLAHAKIS: Great.
19                  THE COURT: How is that?
20                  MR. VLAHAKIS: Perfect.
21                  THE COURT: October -- wait a minute. October 9th?
22     All right. Okay. October 9th, and that will be at
23     9:00 o'clock. All right.
24                  MR. VLAHAKIS: Great.
25                  THE COURT: Thank you.
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1                   MR. VLAHAKIS: Thank you very much.
2                   THE COURT: All right. And we'll put this all
3      forward without -- with the new order toward the end in the, in
4      the minute order. Okay.
5                   MR. VLAHAKIS: Thank you very much.
6                                CERTIFICATE
7                   I HEREBY CERTIFY that the foregoing is a true,
8      correct and complete transcript of the proceedings had at the
9      hearing of the aforementioned cause on the day and date hereof.
10
11     /s/TRACEY D. McCULLOUGH                                      October 3, 2018
12     Official Court Reporter                                                Date
       United States District Court
13     Northern District of Illinois
       Eastern Division
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